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                                    APPENDIX 4
         Select List of Copyright Registrations – Plaintiff NYP Holdings, Inc.

                                                                     PUBLICATION
COPYRIGHT                                   AUTHOR OF                 DATES FOR
                 TITLE OF WORK
 REG. NO.                                     WORK                   REGISTERED
                                                                       CONTENT


TX 6-776-129        New York Post         NYP Holdings, Inc.   January 1 - 31, 2011


TX 6-778-845        New York Post         NYP Holdings, Inc.   February 1 - 28, 2011


TX 6-778-916        New York Post         NYP Holdings, Inc.   March 1 - 31, 2011


TX 6-779-025        New York Post         NYP Holdings, Inc.   April 1 - 30, 2011


TX 6-787-605        New York Post         NYP Holdings, Inc.   May 1 - 31, 2011


TX 6-573-267        New York Post         NYP Holdings, Inc.   June 1 - 30, 2011


TX 6-787-809        New York Post         NYP Holdings, Inc.   July 1 - 31, 2011


TX 6-787-595        New York Post         NYP Holdings, Inc.   August 1 - 31, 2011


TX 6-788-811        New York Post         NYP Holdings, Inc.   September 1 - 30, 2011


TX 6-788-033        New York Post         NYP Holdings, Inc.   October 1 - 31, 2011


TX 6-789-331        New York Post         NYP Holdings, Inc.   November 1 - 30, 2011


TX 6-789-324        New York Post         NYP Holdings, Inc.   December 1 - 31, 2011


TX 6-789-536        New York Post         NYP Holdings, Inc.   January 1 - 31, 2012


TX 6-790-188        New York Post         NYP Holdings, Inc.   February 1 - 29, 2012


TX 6-790-172        New York Post         NYP Holdings, Inc.   March 1 - 31, 2012
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TX 6-612-272     New York Post       NYP Holdings, Inc.   April 1 - 30, 2012


TX 6-790-175     New York Post       NYP Holdings, Inc.   May 1 - 31, 2012


TX 6-774-989     New York Post       NYP Holdings, Inc.   June 1 - 30, 2012


TX 7-989-812     New York Post       NYP Holdings, Inc.   July 1 - 31, 2012


TX 7-713-140     New York Post       NYP Holdings, Inc.   August 1 - 31, 2012


TX 7-713-117     New York Post       NYP Holdings, Inc.   September 1 - 30, 2012


TX 7-695-160     New York Post       NYP Holdings, Inc.   October 1 - 31, 2012


TX 7-755-011     New York Post       NYP Holdings, Inc.   November 1 - 30, 2012


TX 7-750-209     New York Post       NYP Holdings, Inc.   December 1 - 31, 2012


TX 7-901-212     New York Post       NYP Holdings, Inc.   January 1 - 31, 2013


TX 7-908-619     New York Post       NYP Holdings, Inc.   February 1 - 28, 2013


TX 7-905-146     New York Post       NYP Holdings, Inc.   March 1 - 31, 2013


TX 7-918-190     New York Post       NYP Holdings, Inc.   April 1 - 30, 2013


TX 7-820-513     New York Post       NYP Holdings, Inc.   May 1 - 31, 2013


TX 7-911-588     New York Post       NYP Holdings, Inc.   June 1 - 30, 2013


TX 7-879-545     New York Post       NYP Holdings, Inc.   July 1 - 31, 2013


TX 7-991-939     New York Post       NYP Holdings, Inc.   August 1 - 31, 2013



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TX 7-991-950     New York Post       NYP Holdings, Inc.   September 1 - 30, 2013


TX 7-883-826     New York Post       NYP Holdings, Inc.   October 1 - 31, 2013


TX 7-900-554     New York Post       NYP Holdings, Inc.   November 1 - 30, 2013


TX 7-970-841     New York Post       NYP Holdings, Inc.   December 1 - 31, 2013


TX 7-970-870     New York Post       NYP Holdings, Inc.   January 1 - 31, 2014


TX 7-995-160     New York Post       NYP Holdings, Inc.   February 1 - 28, 2014


TX 7-988-935     New York Post       NYP Holdings, Inc.   March 1 - 31, 2014


TX 7-928-177     New York Post       NYP Holdings, Inc.   April 1 - 30, 2014


TX 7-937-897     New York Post       NYP Holdings, Inc.   May 1 - 31, 2014


TX 7-966-029     New York Post       NYP Holdings, Inc.   June 1 - 30, 2014


TX 8-064-356     New York Post       NYP Holdings, Inc.   July 1 - 31, 2014


TX 8-082-449     New York Post       NYP Holdings, Inc.   August 1 - 31, 2014


TX 8-078-174     New York Post       NYP Holdings, Inc.   September 1 - 30, 2014


TX 8-090-810     New York Post       NYP Holdings, Inc.   October 1 - 31, 2014


TX 8-478-236     New York Post       NYP Holdings, Inc.   November 1 - 30, 2014


TX 8-153-372     New York Post       NYP Holdings, Inc.   December 1 - 31, 2014


TX 8-170-881     New York Post       NYP Holdings, Inc.   January 1 - 31, 2015



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TX 8-162-683     New York Post       NYP Holdings, Inc.   February 1 - 28, 2015


TX 8-155-413     New York Post       NYP Holdings, Inc.   March 1 - 31, 2015


TX 8-179-485     New York Post       NYP Holdings, Inc.   April 1 - 30, 2015


TX 8-206-371     New York Post       NYP Holdings, Inc.   May 1 - 31, 2015


TX 8-206-377     New York Post       NYP Holdings, Inc.   June 1 - 30, 2015


TX 8-207-907     New York Post       NYP Holdings, Inc.   July 1 - 31, 2015


TX 8-228-008     New York Post       NYP Holdings, Inc.   August 1 - 31, 2015


TX 8-226-503     New York Post       NYP Holdings, Inc.   September 1 - 30, 2015


TX 8-255-936     New York Post       NYP Holdings, Inc.   October 1 - 31, 2015


TX 8-259-220     New York Post       NYP Holdings, Inc.   November 1 - 30, 2015


TX 8-264-123     New York Post       NYP Holdings, Inc.   December 1 - 31, 2015


TX 8-282-165     New York Post       NYP Holdings, Inc.   January 1 - 31, 2016


TX 8-284-737     New York Post       NYP Holdings, Inc.   February 1 - 29, 2016


TX 8-315-716     New York Post       NYP Holdings, Inc.   March 1 - 31, 2016


TX 8-315-728     New York Post       NYP Holdings, Inc.   April 1 - 30, 2016


TX 8-315-698     New York Post       NYP Holdings, Inc.   May 1 - 31, 2016


TX 8-315-492     New York Post       NYP Holdings, Inc.   June 1 - 30, 2016



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TX-8-308-995     New York Post       NYP Holdings, Inc.   July 1 - 31, 2016


TX 8-282-482     New York Post       NYP Holdings, Inc.   August 1 - 31, 2016


TX 8-284-633     New York Post       NYP Holdings, Inc.   September 1 - 30, 2016


TX 8-284-313     New York Post       NYP Holdings, Inc.   October 1 - 31, 2016


TX 8-342-983     New York Post       NYP Holdings, Inc.   November 1 - 30, 2016


TX 8-371-335     New York Post       NYP Holdings, Inc.   December 1 - 31, 2016


TX 8-359-793     New York Post       NYP Holdings, Inc.   January 1 - 31, 2017


TX 8-382-268     New York Post       NYP Holdings, Inc.   February 1 - 28, 2017


TX 8-396-879     New York Post       NYP Holdings, Inc.   March 1 - 31, 2017


TX 8-409-437     New York Post       NYP Holdings, Inc.   April 1 - 30, 2017


TX 8-462-186     New York Post       NYP Holdings, Inc.   May 1 - 31, 2017


TX 8-457-169     New York Post       NYP Holdings, Inc.   June 1 - 30, 2017


TX 8-472-229     New York Post       NYP Holdings, Inc.   July 1 - 31, 2017


TX 8-492-420     New York Post       NYP Holdings, Inc.   August 1 - 31, 2017


TX 8-475-763     New York Post       NYP Holdings, Inc.   September 1 - 30, 2017


TX 8-507-369     New York Post       NYP Holdings, Inc.   October 1 - 31, 2017


TX-8-572-013     New York Post       NYP Holdings, Inc.   November 1 - 30, 2017



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TX-8-571-952     New York Post       NYP Holdings, Inc.   December 1 - 31, 2017


TX 8-534-689     New York Post       NYP Holdings, Inc.   January 1 - 31, 2018


TX 8-535-325     New York Post       NYP Holdings, Inc.   February 1 - 28, 2018


TX 8-546-391     New York Post       NYP Holdings, Inc.   March 1 - 31, 2018


TX 8-576-463     New York Post       NYP Holdings, Inc.   April 1 - 30, 2018


TX 8-876-502     New York Post       NYP Holdings, Inc.   May 1 - 31, 2018


TX-8-594-658     New York Post       NYP Holdings, Inc.   June 1 - 30, 2018


TX 8-739-606     New York Post       NYP Holdings, Inc.   July 1 - 31, 2018


TX 8-702-434     New York Post       NYP Holdings, Inc.   August 1 - 31, 2018


TX 8-629-627     New York Post       NYP Holdings, Inc.   September 1 - 30, 2018


TX 8-700-688     New York Post       NYP Holdings, Inc.   October 1 - 31, 2018


TX 8-696-409     New York Post       NYP Holdings, Inc.   November 1 - 30, 2018


TX 8-724-598     New York Post       NYP Holdings, Inc.   December 1 - 31, 2018


TX 8-794-831     New York Post       NYP Holdings, Inc.   January 1 - 31, 2019


TX 8-794-350     New York Post       NYP Holdings, Inc.   February 1 - 28, 2019


TX 8-822-498     New York Post       NYP Holdings, Inc.   March 1 - 31, 2019


TX 8-794-481     New York Post       NYP Holdings, Inc.   April 1 - 30, 2019



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TX 8-792-486     New York Post       NYP Holdings, Inc.   May 1 - 31, 2019


TX 8-801-957     New York Post       NYP Holdings, Inc.   June 1 - 30, 2019


TX 8-803-668     New York Post       NYP Holdings, Inc.   July 1 - 31, 2019


TX 8-818-420     New York Post       NYP Holdings, Inc.   August 1 - 31, 2019


TX 8-822-123     New York Post       NYP Holdings, Inc.   September 1 - 30, 2019


TX 8-826-310     New York Post       NYP Holdings, Inc.   October 1 - 31, 2019


TX 8-828-675     New York Post       NYP Holdings, Inc.   November 1 - 30, 2019


TX 8-839-346     New York Post       NYP Holdings, Inc.   December 1 - 31, 2019


TX 8-861-361     New York Post       NYP Holdings, Inc.   January 1 - 31, 2020


TX 8-861-949     New York Post       NYP Holdings, Inc.   February 1 - 29, 2020


TX 8-865-190     New York Post       NYP Holdings, Inc.   March 1 - 31, 2020


TX 8-876-419     New York Post       NYP Holdings, Inc.   April 1 - 30, 2020


TX 8-883-696     New York Post       NYP Holdings, Inc.   May 1 - 31, 2020


TX 8-886-665     New York Post       NYP Holdings, Inc.   June 1 - 30, 2020


TX 8-894-906     New York Post       NYP Holdings, Inc.   July 1 - 31, 2020


TX 8-905-666     New York Post       NYP Holdings, Inc.   August 1 - 31, 2020


TX 8-910-808     New York Post       NYP Holdings, Inc.   September 1 - 30, 2020



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TX 8-918-138     New York Post       NYP Holdings, Inc.   October 1 - 31, 2020


TX 8-923-110     New York Post       NYP Holdings, Inc.   November 1 - 30, 2020


TX 8-931-307     New York Post       NYP Holdings, Inc.   December 1 - 31, 2020


TX 8-947-285     New York Post       NYP Holdings, Inc.   January 1 - 31, 2021


TX 8-951-084     New York Post       NYP Holdings, Inc.   February 2 - 28, 2021


TX 8-960-289     New York Post       NYP Holdings, Inc.   March 3 - 31, 2021


TX 8-969-638     New York Post       NYP Holdings, Inc.   April 4 - 30, 2021


TX 8-991-429     New York Post       NYP Holdings, Inc.   May 5 - 31, 2021


TX 9-000-396     New York Post       NYP Holdings, Inc.   June 6 - 30, 2021


TX 9-004-817     New York Post       NYP Holdings, Inc.   July 7 - 31, 2021


TX 9-028-861     New York Post       NYP Holdings, Inc.   August 8 - 31, 2021


TX 9-063-223     New York Post       NYP Holdings, Inc.   September 9 - 30, 2021


TX 9-075-877     New York Post       NYP Holdings, Inc.   October 10 - 31, 2021


TX 9-101-051     New York Post       NYP Holdings, Inc.   November 11 - 30, 2021


TX 9-121-830     New York Post       NYP Holdings, Inc.   December 12 - 31, 2021


TX 9-127-416     New York Post       NYP Holdings, Inc.   January 1 - 31, 2022


TX 9-138-856     New York Post       NYP Holdings, Inc.   February 1 - 28, 2022



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TX 9-144-702     New York Post       NYP Holdings, Inc.   March 1 - 31, 2022


TX 9-153-507     New York Post       NYP Holdings, Inc.   April 1 - 30, 2022


TX 9-167-309     New York Post       NYP Holdings, Inc.   May 1 - 31, 2022


TX 9-197-674     New York Post       NYP Holdings, Inc.   June 1 - 30, 2022


TX 9-186-096     New York Post       NYP Holdings, Inc.   July 1 - 31, 2022


TX 9-191-308     New York Post       NYP Holdings, Inc.   August 1 - 31, 2022


TX 9-202-169     New York Post       NYP Holdings, Inc.   September 1 - 30, 2022


TX 9-220-657     New York Post       NYP Holdings, Inc.   October 1 - 31, 2022


TX 9-253-897     New York Post       NYP Holdings, Inc.   November 1 - 30, 2022


TX 9-261-229     New York Post       NYP Holdings, Inc.   December 1 - 31, 2022


TX 9-283-252     New York Post       NYP Holdings, Inc.   January 1 - 31, 2023


TX 9-274-642     New York Post       NYP Holdings, Inc.   February 1 - 28, 2023


TX 9-280-304     New York Post       NYP Holdings, Inc.   March 1 - 31, 2023


TX 9-284-124     New York Post       NYP Holdings, Inc.   April 1 - 30, 2023


TX 9-293-610     New York Post       NYP Holdings, Inc.   May 1 - 31, 2023


TX 9-301-403     New York Post       NYP Holdings, Inc.   June 1 - 30, 2023


TX 9-306-931     New York Post       NYP Holdings, Inc.   July 1 - 31, 2023



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TX 9-318-783     New York Post          NYP Holdings, Inc.   August 1 - 31, 2023


TX 9-327-992     New York Post          NYP Holdings, Inc.   September 1 - 30, 2023


TX 9-334-093     New York Post          NYP Holdings, Inc.   October 1 - 31, 2023


TX 9-345-959     New York Post          NYP Holdings, Inc.   November 1 - 30, 2023


TX 9-362-407     New York Post          NYP Holdings, Inc.   December 1 - 31, 2023


TX 9-373-669     New York Post          NYP Holdings, Inc.   January 1 - 31, 2024


TX 9-382-440     New York Post          NYP Holdings, Inc.   February 1 - 29, 2024


TX 9-392-053     New York Post          NYP Holdings, Inc.   March 1 - 31, 2024


TX 9-409-407     New York Post          NYP Holdings, Inc.   April 1 - 30, 2024


TX 9-413-292     New York Post          NYP Holdings, Inc.   May 1 - 31, 2024


TX 9-421-491     New York Post          NYP Holdings, Inc.   June 1 - 30, 2024


TX 9-431-218     New York Post          NYP Holdings, Inc.   July 1 - 31, 2024


TX 9-438-369     New York Post          NYP Holdings, Inc.   August 1 - 31, 2024


TX 9-442-675       nypost.com           NYP Holdings, Inc.   August 12 - 31, 2024


TX 9-447-687     New York Post          NYP Holdings, Inc.   September 1 - 30, 2024


TX 9-444-348       nypost.com           NYP Holdings, Inc.   September 1 - 27, 2024


TX 9-445-592       nypost.com           NYP Holdings, Inc.   September 29 - 30, 2024



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